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  17                       UNITED STATES DISTRICT COURT
  18                      CENTRAL DISTRICT OF CALIFORNIA
  19   LLOYD’S MATERIAL SUPPLY      )            Case No.: 2:16−cv−8027 DMG (JPRx)
       COMPANY, INC., et al.,       )            Judge: Hon. Dolly M. Gee
  20                                )
                Plaintiffs,         )
                                    )            PLAINTIFFS LLOYD’S MATERIAL
  21
            vs.                     )            SUPPLY COMPANY, INC. AND
  22                                )            LLOYD’S EQUIPMENT, INC.’S
       REGAL-BELOIT CORPORATION, et )
       al.,                         )            OPPOSITION TO DEFENDANT
  23
                                    )            REGAL-BELOIT CORPORATION’S
  24            Defendants.         )            MOTION TO DISMISS OR,
                                    )
  25                                )            ALTERNATIVELY, TO TRANSFER
                                    )
                                    )            Date:       March 3, 2017
  26                                             Time:       9:30 a.m.
                                    )
                                    )            Dept:       8C
  27
                                    )            Complaint filed: October 27, 2016
  28

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   1         Plaintiffs Lloyd’s Material Supply Company, Inc. and Lloyd’s Equipment,
   2   Inc. respectfully submit the following Memorandum of Points and Authorities in
   3   opposition to the Motion to Dismiss Pursuant to Federal Rule of Civil Procedure
   4   12(b)(1) & (6), or Alternatively, to Transfer Pursuant to 28 U.S.C. § 1404(A)
   5   (hereinafter “Motion to Dismiss”) filed by Defendant Regal-Beloit Corporation.
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   1               MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         In seeking to obtain dismissal or transfer of the Complaint filed by Plaintiffs
   4   Lloyd’s Material Supply Company, Inc. (“LMS”) and Lloyd’s Equipment, Inc.
   5   (“LE;” collectively “Lloyd’s”), Defendant Regal-Beloit Corporation (“RBC”)
   6   wrongly attempts to shield itself with the provisions of a consent decree it entered
   7   into with the U.S. Department of Justice (“DOJ”). In fact, that consent decree
   8   does not support dismissal of this action because the claims brought by Lloyd’s
   9   rest upon RBC’s broader history of anticompetitive conduct, which extends
  10   beyond violations of the consent decree and includes, but is not limited to, RBC’s
  11   initial acquisition of one of its largest competitors, A.O. Smith Corporation
  12   (“AOS”); its subsequent violation of agreements entered into with its primary
  13   remaining competitor, SNTech, Inc. (“SNTech”); and its acquisition of a majority
  14   share of the subject spa pump motor market. Because these acts go beyond the
  15   mere violation of the consent decree and are independently subject to remedy
  16   under 15 U.S.C. §§ 2, 15, and 18, as well as tort doctrines, RBC’s Motion to
  17   Dismiss should be denied by the Court.
  18         Lloyd’s did not bring the Complaint in order to enforce the terms of the
  19   consent decree between the DOJ and RBC. As a result, Lloyd’s certainly has
  20   standing to seek redress under federal antitrust law. Section 15(a) of Title 15 of
  21   the United States Code expressly grants a private cause of action to “any person
  22   who shall be injured” as the result of a defendant’s violation of antitrust laws.
  23   Again, because the Complaint alleges RBC’s misconduct outside violations of the
  24   consent decree, the Complaint makes clear Lloyd’s standing to assert these claims.
  25         There is also no question that the Complaint was timely filed. Of course, a
  26   cause of action for monopolization accrues only once a plaintiff suffers actual
  27   injury as the result of the defendant’s conduct. Moreover, a defendant’s monopoly
  28   constitutes a continuing statutory violation which supports recovery for all
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   1   damages incurred less than four years prior to suit, even if acts giving rise to the
   2   monopoly occurred before that period. Here, the Complaint indicates that Lloyd’s
   3   suffered injury on or about December 2014, when RBC was finally able to drive
   4   out its primary competition from the electric spa pump motor market. Because
   5   Lloyd’s filed the Complaint in October 2016, within two years of the date this
   6   injury occurred (and well within the four year limitations period), none the statutes
   7   of limitation cited by RBC support dismissal. Regardless, because of RBC’s
   8   continuing violations of antitrust law, the claims asserted by Lloyd’s are timely.
   9         RBC’s remaining contentions similarly miss the mark. Because the
  10   Complaint does not rely solely upon RBC’s failure to assist its competitors, the
  11   Trinko decision and similar authorities are inapplicable. RBC also is not entitled
  12   to dismissal at the pleading stage based on its theory that the claims asserted by
  13   Lloyd’s are “implausible” as Lloyd’s has adequately pleaded factual allegations of
  14   attempted monopolization. In addition, transfer to the U.S. District Court for the
  15   District of Columbia is inappropriate because the claims asserted by Lloyd’s exist
  16   independent of the consent decree, and, thus, no good cause exists to transfer the
  17   action to Washington, D.C. to have the court there interpret the original consent
  18   decree. For each of these reasons, RBC’s Motion to Dismiss should be denied.
  19   II.   THE ALLEGATIONS OF THE COMPLAINT
  20         In the Complaint, Lloyd’s alleges that, prior to December 2010, there
  21   existed a competitive market for the “design, manufacture, and sale of electric
  22   motors for spa pumps.” (Compl. at ¶ 2.) The businesses competing within the
  23   market included RBC, AOS, and third-party Nidec Motor Corporation. (Id.)
  24   However, RBC and AOS supplied more than 50% of the Relevant Market at that
  25   time. (Id.) The Complaint additionally alleges that RBC first attempted to
  26   monopolize the Relevant Market—the market for electric motor spa pumps—in
  27   December 2010, when it “attempted to acquire AOS’s electric motor business
  28   assets, including electric motors for spa pumps.” (Id. at ¶ 3.) RBC’s acquisition
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   1   of AOS, if successful, “would have been an anticompetitive merger, giving RBC
   2   control of the majority of the Relevant Market,” resulting in limited competition
   3   and a market ripe for price-fixing. (Id.)
   4         In response to this monopolization attempt, DOJ sued RBC in August 2011
   5   to stop its acquisition of AOS on the ground that the combination would violate
   6   the provisions of Section 7 of the Clayton Act, 15 U.S.C. § 18. (Id. at ¶ 4.) RBC
   7   subsequently agreed to resolve DOJ’s suit by consenting to divest its own assets
   8   relating to electric spa pump motors to a non-affiliated company, SNTech, in order
   9   to preserve competition in the market. (Id. at ¶ 5.) Pursuant to that resolution, the
  10   U.S. District Court for the District of Columbia entered a Judgment in November
  11   2011, which required RBC to divest its electric spa pump motor assets to SNTech
  12   and enter into certain transition services and supply agreements with SNTech for
  13   up to one year so that SNTech could operate as “a viable, ongoing business that is
  14   engaged in the design, development, manufacture, marketing, servicing,
  15   distribution, and sale of spa pump motors.” (Id. at ¶ 6.)
  16         The Complaint alleges, however, that RBC failed to abide by “the spirit and
  17   the letter of its agreement with DOJ” when it “engaged in deceptive and
  18   anticompetitive behavior by ensuring that its divestiture of spa pump motor assets
  19   to SNTech would fail.” (Id. at ¶ 7.) This behavior took numerous forms,
  20   including providing faulty materials and components to SNTech and failing to
  21   provide necessary technical and engineering assistance such that SNTech could
  22   “develop, manufacture, and sell operational spa pump motors in sufficient
  23   quantities and with acceptable levels of product quality.” (Id.) Ultimately, RBC’s
  24   anticompetitive behavior drove SNTech out of the Relevant Market and SNTech
  25   filed for Chapter 11 bankruptcy in December 2014. (Id.). On June 23, 2015,
  26   SNTech’s Chapter 11 bankruptcy was converted to a Chapter 7 bankruptcy. (Id.)
  27         LE, as a direct purchaser of electric spa pump motors, and LMS, as a direct
  28   purchaser of spa pumps from LE, were harmed by RBC’s anticompetitive
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   1   behavior and subsequent monopolization of the Relevant Market in three ways.
   2   First, because LE was unable to obtain operational electric spa pump motors from
   3   SNTech, it was unable to supply LMS with operational spa pumps, and LMS was
   4   forced to purchase spa pumps containing RBC motors from other vendors at
   5   higher prices and increased inventory cost (Id. at ¶¶ 8, 9.) Second, the now
   6   anticompetitive market resulted in less innovation and product choice and Lloyd’s
   7   was unable to obtain a switchless motor with surge protection anywhere else in the
   8   Relevant Market, which forced Lloyd’s to purchase inferior electric spa pump
   9   motors. (Id. at ¶ 9.) Third, because Lloyd’s was unable to purchase a switchless
  10   motor with surge protection, LMS was forced to absorb the time and cost that it
  11   had spent developing spas that featured switchless motors with surge protection
  12   and educating its consumers about spas with such a motor. (Id. at ¶ 9.) Each of
  13   these harms is ongoing. Accordingly, the Complaint asserts claims for Attempted
  14   Monopolization, Unfair Business Practices, Tortious Interference with Prospective
  15   Economic Relations, and Negligent Interference with Prospective Economic
  16   Relations against RBC.
  17   III.   APPLICABLE STANDARDS FOR DETERMINING A MOTION TO
  18          DISMISS
  19          Under Fed. R. Civ. P. Rule 12(b)(6), a defendant may seek to dismiss a
  20   complaint when the complaint fails “to state a claim upon which relief may be
  21   granted.” Dismissal is appropriate only if “it appears beyond doubt that the
  22   nonmoving party ‘can prove no set of facts in support of his claim which would
  23   entitled him to relief.” Bone v. City of Los Angeles, 471 F. App’x 620, 622 (9th
  24   Cir. 2012) (quoting Cook v. Brewer, 637 F.3d 1002, 1004 (9th Cir. 2011). All
  25   inferences arising from the allegations of the complaint must be drawn “in the
  26   light most favorable to the plaintiff.” Barker v. Riverside Cty. Office of Educ., 584
  27   F.3d 821, 824 (9th Cir. 2009). Accordingly, “[i]t is axiomatic that the motion to
  28   dismiss for failure to state a claim is viewed with disfavor and is rarely granted.”
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    1   Hall v. City of Santa Barbara, 833 F.2d 1270, 1274 (9th Cir. 1986) (internal
    2   quotation marks and citation omitted). 1
    3   IV.   LLOYD’S HAS STANDING TO PURSUE RELIEF BASED UPON
    4         RBC’S ATTEMPTS TO MONOPOLIZE THE RELEVANT
    5         MARKET
    6          LE and LMS are aggrieved parties, and as such, they are given the right
    7   under federal antitrust law to seek redress for RBC’s attempts to monopolize the
    8   Relevant Market. The fact that there happens to be a DOJ consent decree from
    9   November 2011 does not change this calculus. Section 15(a) of Title 15 of the
   10   United States Code provides that “any person who shall be injured in his business
   11   or property by reason of anything forbidden in the antitrust laws” may sue
   12   therefore. The antitrust laws referenced in Section 15(a) include both the Sherman
   13   Act, 15 U.S.C. §§ 1-7, and the Clayton Act, 15 U.S.C. §§ 12-19. See 15 U.S.C.
   14   § 12. Section 2 of the Sherman Act, 15 U.S.C. § 2, in particular, imposes
   15   penalties on any person or corporation 2 that “monopolize[s], or attempt[s] to
   16   monopolize, or combine[s] or conspire[s] with any other person or persons, to
   17   monopolize any part of the trade or commerce among the several States.”
   18   Similarly, 15 U.S.C § 18 bars any person from acquiring “the whole or any part of
   19   the assets of another” person or corporation engaged in commerce where the effect
   20   of such acquisition “may be substantially to lessen competition, or to tend to
   21
   22   1
               RBC erroneously frames its Motion to Dismiss insofar as it is based upon
   23   Lloyd’s purported lack of standing, as a Motion to Dismiss for lack of subject
        matter jurisdiction is properly raised under Fed. R. Civ. P. Rule 12(b)(1), not Rule
   24
        12(b)(6). A dismissal for “lack of statutory standing, however, is properly viewed
   25   as a dismissal for failure to state a claim rather than a dismissal for lack of subject
        matter jurisdiction.” Vaughn v. Bay Envtl. Mgmt., 567 F.3d 1021, 1024 (9th Cir.
   26
        2009).
   27
        2
   28         Section 7 of Title 15 of the United States Code defines the term “person” to
        include corporations.
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    1   create a monopoly.” Thus, the statutory framework makes clear that Lloyd’s has
    2   standing to assert claims against RBC to the extent Lloyd’s has suffered harm as
    3   the result of RBC’s efforts to monopolize the Relevant Market.
    4         RBC’s attempts to attack the standing of LE and LMS by mischaracterizing
    5   the Complaint as a mere attempt to enforce the terms of a long-past consent decree
    6   are unfounded. The allegations in the Complaint go far beyond the terms of the
    7   consent decree because they include RBC’s initial acquisition of AOS; RBC’s
    8   anticompetitive conduct in failing to honor the terms of the transition services and
    9   supply agreements it entered into with SNTech; and RBC’s anticompetitive
   10   conduct since acquiring more than 50% of the Relevant Market after SNTech filed
   11   for bankruptcy in 2014.
   12         As to RBC’s initial acquisition of AOS, the DOJ’s initial filing of an
   13   antitrust action against RBC in 2011, and the parties’ ultimate resolution by way
   14   of a consent decree, does not preclude a private cause of action brought by
   15   Lloyd’s. See Free FreeHand Corp. v. Adobe Systems, Inc., 852 F. Supp. 2d 1171,
   16   1181 (N.D. Cal. 2012) (stating that the “mere fact” that DOJ approved a merger
   17   does not mean a plaintiff is precluded from later alleging the merger was
   18   unlawful). Private and public antitrust actions were “designed to be cumulative,
   19   not mutually exclusive” and because different policy considerations govern each,
   20   they “may proceed simultaneously or in disregard of each other.” United States v.
   21   Borden Co., 347 U.S. 514, 518-19 (1954). Indeed, 15 U.S.C. § 16(i) expressly
   22   contemplates private actions being brought notwithstanding prior DOJ actions
   23   because it tolls the statute of limitations for such private actions when DOJ has
   24   instituted either civil or criminal proceedings “to prevent, restrain, or punish
   25   violations of any of the antitrust laws[.]” Lloyd’s thus retains the right to sue RBC
   26   based upon RBC’s initial acquisition of AOS, an acquisition which did not cause
   27   harm to Lloyd’s until years after the consent decree.
   28

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    1         Additionally, RBC is simply mistaken when it alleges that the allegations
    2   advanced by Lloyd’s are based wholly on RBC’s consent decree with DOJ. The
    3   consent decree established solely that RBC “enter into” transition services and
    4   supply agreements with SNTech concerning its electric spa pump motor assets.
    5   (Motion to Dismiss, Exhibit “C,” pp. 34-35, ¶¶ IV.F. and I.) Lloyd’s is not
    6   alleging that RBC failed to enter into such agreements, and thus is not alleging
    7   that RBC violated the plain terms of the consent decree. Rather, Lloyd’s alleges
    8   that part of the anticompetitive conduct in which RBC engaged in order to attempt
    9   to monopolize the Relevant Market was RBC’s deliberate delivery of faulty
   10   materials and components to SNTech and calculatedly inadequate provision of
   11   technical and engineering assistance pursuant to those agreements. While the
   12   consent decree may have been the genesis for the transition services and supply
   13   agreements, the Complaint’s allegations that RBC deliberately “sandbagged”
   14   those agreements in a continuing attempt to monopolize the Relevant Market are
   15   not based wholly on the consent decree—they are based on a pattern and practice
   16   of anticompetitive behavior that RBC began when it bid to acquire AOS and
   17   continued when it divested its assets to SNTech.
   18         Finally, it is patently clear that Lloyd’s does not seek to enforce the consent
   19   decree inasmuch as the consent decree cannot be enforced at this time. SNTech is
   20   defunct, having departed the Relevant Market and filed for bankruptcy in 2014.
   21   Any attempt to enforce RBC’s compliance with the terms of the consent decree
   22   would be legally absurd. What Lloyd’s seeks is a remedy for RBC’s attempted
   23   monopolization of the Relevant Market—a course of conduct that began as early
   24   as 2010 with its initial attempt to acquire AOS, and which continues today thanks
   25   to SNTech’s departure from the Relevant Market at the hands of RBC. The
   26   proverbial ship has sailed on the consent decree, but the Court can still remedy the
   27   ongoing competitive harm that Lloyd’s suffers as a result of RBC’s
   28   anticompetitive conduct and unrivaled market dominance. Because Lloyd’s has
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    1   adequately alleged harm as a result of RBC’s conduct, it has standing to pursue
    2   such antitrust relief from RBC.
    3   V.    THE CLAIMS ASSERTED BY LLOYD’S ARE TIMELY
    4         RBC’s contentions regarding the applicable statutes of limitation also miss
    5   the mark. While RBC argues at length about the nature and timing of its alleged
    6   misconduct, it ignores the fact that an injured party’s cause of action accrues only
    7   when that party first suffers cognizable harm. Here, because the Complaint
    8   alleged that Lloyd’s suffered harm on or about the time that SNTech became a
    9   defunct entity and exited the Relevant Market through bankruptcy—December
   10   2014—there is no question that Lloyd’s has timely sought relief for its antitrust
   11   and related injuries. Additionally, the Complaint avers that RBC’s
   12   monopolization of the Relevant Market is ongoing, as are the injuries suffered by
   13   Lloyd’s. (See Compl. at ¶¶ Lloyd’s is now required to pay higher prices for
   14   inferior products—the exact type of injury that the antitrust laws were designed to
   15   remedy. See Pool Water Prods. v. Olin Corp., 258 F.3d 1024, 1034 (9th Cir.
   16   2001) (noting that the antitrust laws are concerned with “acts that harm allocative
   17   efficiency and raise the price of goods about their competitive level or diminish
   18   their quality”). If nothing else, Lloyd’s has made a claim timely for all damages it
   19   suffered within the preceding four years.
   20         A.     The Claims Asserted By Lloyd’s Accrued Within Two Years Of
   21                The Filing Of This Lawsuit
   22         The parties agree that a four-year limitation period applies with respect to
   23   the first and second counts of the Complaint (attempted monopolization and unfair
   24   business practices) and that a two-year limitation period applies with respect to
   25   counts three and four (tortious and negligent interference with prospective
   26   economic relations). However, the parties disagree as to the timeliness of the
   27   lawsuit. RBC contends that the timeliness of the claims brought by Lloyd’s turns
   28   on the date(s) when RBC allegedly engaged in misconduct. However, the law is
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    1   clear that the statute of limitations does not begin to run until Lloyd’s suffers
    2   cognizable, non-speculative harm as a result of RBC’s misconduct. See Oliver v.
    3   SD-3C LLC, 751 F.3d 1081, 1086 (9th Cir. 2014) quoting Pace Indus., Inc. v.
    4   Three Phoenix Co., 813 F.2d 234, 237 (9th Cir. 1987) (stating that a “cause of
    5   action in antitrust accrues each time a plaintiff is injured by an act of the defendant
    6   and the statute of limitations runs from the commission of the act”).
    7         In this case, RBC engaged in anticompetitive conduct by attempting to
    8   acquire the electric spa pump motor business of its competitor, AOS, in 2011, and
    9   in effectively sandbagging its transition services and supply agreements in the
   10   years after it agreed to divest its own electric spa pump motor business to SNTech.
   11   However, any antitrust suit initiated by Lloyd’s during this period of time would
   12   have been speculative, and thus unrecoverable, in that Lloyd’s had not yet suffered
   13   any concrete harm and it was unclear what the effects of RBC’s anticompetitive
   14   conduct would be on the Relevant Market. See Zenith Radio Corp. v. Hazeltine
   15   Research, Inc., 401 U.S. 321, 339 (1971) (finding that “future damages that might
   16   arise from the conduct sued on are unrecoverable if the fact of their accrual is
   17   speculative or their amount and nature unprovable). The damages suffered by
   18   Lloyd’s, and the effect of RBC’s anticompetitive behavior on the market, became
   19   ascertainable and provable once SNTech exited the Relevant Market by way of
   20   bankruptcy in December 2014. The Complaint was filed within two years of that
   21   date, and was thus filed within the statute of limitations period. Id. (“Thus, if a
   22   plaintiff feels the adverse impact of an antitrust conspiracy on a particular date, a
   23   cause of action immediately accrues to him to recover all damages incurred by
   24   that date and all provable damages that will flow in the future[.]”)
   25         Additionally, where a defendant engages in a continuing violation of
   26   antitrust law which results in continuing harm to the plaintiff, the plaintiff may
   27   recover for all “damage incurred within the four years preceding the filing of the
   28   complaint.” La Salvia v. United Dairymen of Ariz., 804 F.2d 1113, 1119 (9th Cir.
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    1   1986) citing Hanover Shoe Co. v. United Shoe Mach. Corp., 392 U.S. 481 (1968).
    2   Lloyd’s has alleged a continuing violation of antitrust law in this case beginning in
    3   2010 with RBC’s attempted acquisition of AOS, continuing through its dealings
    4   with SNTech in its divestiture of its electric spa pump motor business line, and
    5   continuing through today, where it now sits in a position of unrivaled market
    6   dominance and exerts that dominance to its own profit and at the expense of
    7   innovation and competition. (See Compl. ¶¶ 61, 76.) These allegations are
    8   sufficient to withstand RBC’s motion to dismiss.
    9         B.     The Trinko Decision Does Not Support RBC’s Statute Of
   10                Limitation Defense
   11          The case of Verizon Communications Inc. v. Law Offices of Curtis v.
   12   Trinko, LLP, 540 U.S. 398 (2004), which takes up large swaths of RBC’s brief, is
   13   simply inapplicable here. First, Trinko is factually limited to claims of
   14   anticompetitive behavior in markets that are highly-regulated by other statutes.
   15   The Court’s determination in Trinko that a telecommunications carrier could not
   16   be held liable for anticompetitive violations of the Telecommunications Act of
   17   1996, 47 U.S.C. § 151, et seq., was premised on the fact that the defendant was
   18   already subject to a “detailed regulatory scheme” that “was designed to deter and
   19   remedy anticompetitive harm” and that the “additional benefit to competition
   20   provided by antitrust enforcement will tend to be small, and it will be less
   21   plausible that the antitrust laws contemplate such additional scrutiny.” Id. at 412;
   22   see also Pac. Bell Tel. Co. v. linkLine Commc’ns., Inc., 555 U.S. 438 (2009)
   23   (citing FCC regulations as a basis for its determination that the defendant had no
   24   antitrust duty to deal with competitors.) In other words, Trinko stands for the
   25   proposition that when there is a highly-regulated and legislated industry with
   26   ample statutory and administrative redress for anticompetitive behavior, access to
   27   the remedies provided by the antitrust laws is unnecessary. Indeed, in highly-
   28   regulated markets, access to the remedies provided by the antitrust laws is
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    1   problematic because effective remediation of complex regulatory violations “will
    2   ordinarily require continuing supervision of a highly detailed decree,” supervision
    3   that Article III courts are not in a position to provide on a continuing basis. Id. at
    4   414-15. The Relevant Market in this case, unlike the provision of
    5   telecommunications services, is not highly regulated—it is a market relatively free
    6   of legislation that has been imbalanced by RBC’s anticompetitive conduct, and
    7   thus the antitrust laws provide the appropriate remedy. Indeed, unlike Trinko, it is
    8   the only remedy available to Lloyd’s.
    9         In any event, the holding in Trinko would not dispose of this case because
   10   Lloyd’s has alleged more anticompetitive behavior than simply RBC’s failure to
   11   assist its market rival, SNTech. Rather, Lloyd’s has adduced facts sufficient to
   12   show a history of anticompetitive behavior, to include RBC’s attempt to acquire
   13   its primary competitor’s (AOS’s) electric spa motor business line, and its ongoing
   14   attempts to monopolize the Relevant Market since SNTech’s bankruptcy. There is
   15   a certain amount of irony, however, in RBC contending in its Motion to Dismiss
   16   that its flaunting of the provisions of its consent decree with DOJ, entered into
   17   precisely to avoid violations of the antitrust laws, should not give rise to liability
   18   because such liability would not serve the purposes of the antitrust laws. DOJ
   19   plainly recognized the significant risk of monopolization in the Relevant Market if
   20   RBC were to eliminate a competitor from that market; RBC has now successfully
   21   done so and the interests of avoiding monopolistic conduct are best served by
   22   requiring RBC to face liability for such anticompetitive behavior.
   23   VI.   THE COMPLAINT’S ALLEGATIONS ARE PLAUSIBLE
   24         The Complaint contains plausible allegations of misconduct by RBC in
   25   violation of both antitrust and California law. RBC’s attempt to use the Supreme
   26   Court’s decision in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) to pick
   27   apart the allegations advanced by Lloyd’s is wholly unavailing.
   28

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    1         In Twombly, the Court addressed whether claims brought by a class of local
    2   telephone and Internet subscribers against certain Incumbent Local Exchange
    3   Carriers (“ILECs”) under Section 1 of the Sherman Act were sufficiently pled to
    4   state a claim upon which relief could be granted. Id. at 550-51, 554-55. In their
    5   pleadings, the plaintiffs alleged that the ILECs had restrained trade by engaging in
    6   “parallel conduct” whereby: (1) the defendants each inhibited the growth of
    7   competitors in their respective service areas; and (2) agreed to refrain from
    8   competing against one another. Id. at 550-51. The Court ultimately held that the
    9   Twombly plaintiffs had not met the applicable pleading standards because bald
   10   allegations of parallel conduct among business competitors was insufficient to
   11   establish a conspiratorial agreement to retrain trade. Id. at 556-57 (“It makes
   12   sense to say, therefore, that an allegation of parallel conduct and a bare assertion
   13   of conspiracy will not suffice.”)
   14         The allegations of this Complaint and the allegations in Twombly are in no
   15   way factually similar. This case does not involve allegations of parallel conduct
   16   with bare assertions of a conspiracy. Rather, Lloyd’s has adduced the following,
   17   specific facts: (a) RBC attempted to monopolize the Relevant Market by acquiring
   18   the electric spa pump motor business of its primary competitor, AOS, in 2011; (b)
   19   RBC was allowed to acquire AOS, but agreed to divest its own electric spa pump
   20   motor assets to SNTech; (c) RBC divested its electric spa pump motor assets to
   21   SNTech, but did so in such a way that drove SNTech out of the Relevant Market
   22   by way of bankruptcy; (d) RBC now controls more than 50% of the Relevant
   23   Market; (e) the Relevant Market is now less innovative because there are no
   24   switchless motors with surge protection available to Lloyd’s; and (f) Lloyd’s has
   25   suffered monetary damage because RBC’s anticompetitive behavior has left LE
   26   unable to manufacture its own spa pumps, left LMS unable to utilize and sell spas
   27   designed for spa pumps with switchless motors and surge protection, and required
   28   LMS to purchase spa pumps with RBC motors at increased prices. Those
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    1   allegations meet and exceed the federal pleading standards and clearly exceed the
    2   allegations adduced in Twombly.
    3         RBC’s complaints regarding the plausibility of Lloyd’s allegations are more
    4   suited for a motion for summary judgment, not a motion to dismiss. At the initial
    5   pleading stage, all that is required is a “short and plain statement of the claim
    6   showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2); see
    7   Twombly, 550 U.S. at 570 (finding that there is no “heightened fact pleading of
    8   specifics” in an antitrust case, but “only enough facts to state a claim to relief that
    9   is plausible on its face”). Lloyd’s has met this requirement and RBC’s motion to
   10   dismiss should therefore be denied.
   11   VII. LLOYD’S HAS ADEQUATELY ALLEGED DIRECT PURCHASES
   12         FROM RBC
   13         RBC also wrongly contends that Lloyd’s lacks standing to pursue relief
   14   because it has not alleged that it purchased products directly from RBC.
   15   However, the Complaint clearly states that because of RBC’s anticompetitive
   16   actions, Lloyd’s was “forced to purchase electric motors manufactured and sold by
   17   RBC or third parties.” (Compl. at ¶ 8.) At this stage in the litigation, LE and
   18   LMS have not unearthed every single invoice generated to purchase electric
   19   motors for spa pumps in the wake of SNTech’s demise because it is not required.
   20   LE and LMS have alleged that they have purchased electric motors for spa pumps
   21   from RBC because of the demise of SNTech and that is sufficient to show the
   22   requisite direct purchase. Certainly, at the summary judgment stage, Lloyd’s will
   23   need to show concrete evidence of such direct purchases if it wants to maintain its
   24   antitrust action for treble damages. See Ill. Brick Co. v. Illinois, 431 U.S. 720
   25   (1977) (holding that only direct purchasers may recover treble damages under the
   26   antitrust laws); Lucas Auto. Eng’g, Inc. v. Bridgestone/Firestone, Inc., 140 F.3d
   27   1228 (9th Cir. 1998) (holding that indirect purchasers are not barred from bringing
   28

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    1   an antitrust claim for injunctive relief). We are not there yet and the Court should
    2   not rule prematurely on this issue.
    3   VIII. THE STATE LAW CLAIMS ASSERTED BY LLOYD’S ARE VALID
    4            Much like the antitrust claims, RBC cannot defeat the state law claims
    5   asserted by Lloyd’s (counts three and four) on the ground that those claims are
    6   merely conclusory or subject to a competition privilege. As even the authority
    7   cited by RBC makes clear, the competition privilege applies only “in the absence
    8   of prohibition by statute, illegitimate means, or some other unlawful element.”
    9   UMG Recordings, Inc. v. Global Eagle Enters., Inc., 117 F. Supp. 3d 1092, 1116
   10   (C.D. Cal. 2015). As set forth throughout the Complaint, however, RBC has
   11   engaged in unlawful conduct by attempting to monopolize the electric spa pump
   12   motor market and restrain competition in violation of the Sherman Act and the
   13   Clayton Act. Therefore, on its face, RBC’s argument falls.
   14            As for RBC’s contention that the allegations in these counts are merely
   15   conclusory, RBC essentially rehashes the same argument it made earlier. As
   16   discussed above in connection with RBC’s “plausibility” argument, the Complaint
   17   adequately and specifically alleges misconduct by RBC, including, but not limited
   18   to, RBC’s acquisition of AOS and garnering of a majority market share, its
   19   attempts to restrain competition, and the resulting damages suffered by Lloyd’s.
   20   Given these allegations, there is no question that counts three and four should
   21   stand.
   22            RBC also cannot defeat count four on the ground that RBC owed no duty of
   23   care to Lloyd’s. RBC again mischaracterizes the Complaint’s allegations as
   24   describing Lloyd’s to be only a former customer of one of RBC’s competitors. In
   25   fact, the Complaint alleges that Lloyd’s purchased goods directly from RBC,
   26   (Compl. at ¶ 8), and that RBC had knowledge of the relationship between LE and
   27   LMS, (Compl. at ¶ 85), such that it was entirely foreseeable that RBC’s
   28   anticompetitive misconduct would have harmed the relationship between LE and
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    1   LMS. The court should deny RBC’s motion to dismiss counts three and four of
    2   the Complaint.
    3   IX.   NO GOOD CAUSE EXISTS TO TRANSFER THE ACTION TO THE
    4         DISTRICT OF COLUMBIA
    5         Finally, RBC wrongly relies on the provisions of an unpublished decision
    6   from the U.S. District Court for the Northern District of California to argue for a
    7   transfer of this action. Under 28 U.S.C. § 1404(a), for the “convenience of parties
    8   and witnesses, in the interest of justice, a district court may transfer any civil
    9   action to any other district or division where it might have been brought or to any
   10   district or division to which all parties have consented.” In this manner, § 1404
   11   makes clear that a transfer is subject to the discretion of the court, and the primary
   12   consideration in exercising that discretion should be “the convenience of parties
   13   and witnesses.” Id.
   14         RBC makes no meaningful argument that transfer of this action to the
   15   District of Columbia would further the convenience of the parties or of any
   16   witnesses. Given that the Lloyd’s plaintiffs are both California corporations, and
   17   RBC is a Wisconsin corporation that does business with California corporations,
   18   the evidence suggests that such a transfer would actually inconvenience all parties
   19   concerned. Moreover, RBC has not suggested that any of the witnesses or
   20   transactions that occurred in this case took place in the District of Columbia.
   21         Rather than address issues of convenience, RBC points to the unpublished
   22   decision in Goulart v. United Airlines, Inc., 1994 U.S. Dist. LEXIS 21856 (N.D.
   23   Cal. 1994). There, the court held that claims of fraud, breach of contract, and
   24   RICO violations brought by a group of United Airlines supervisors should be
   25   transferred to the Northern District of Illinois because resolution of the claims was
   26   “inextricably intermingled” with the terms of a consent decree entered between
   27   United Airlines, the plaintiffs’ former union, and others. Id. at *10. The court
   28   further found that the plaintiffs’ “request for relief cannot be separated from the
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    1   relief provided in the Consent Decree” and instead, “[s]uch relief would require
    2   United to act in direct contravention of the Consent Decree.” Id. This case stands
    3   in stark contrast to the circumstances of Goulart. Lloyd’s does not ask this Court
    4   to enforce the terms of the consent decree previously entered between the DOJ
    5   and RBC. Again, because SNTech is no longer a viable corporation, the terms of
    6   the consent decree cannot be enforced at this point in time. Furthermore, Lloyd’s
    7   does not seek any form of relief that would require RBC to act in contravention of
    8   the DOJ consent decree. For these reasons, and because a transfer would not
    9   promote the convenience of the parties or witnesses, no good cause exists to
   10   transfer this action to the U.S. District Court for the District of Columbia.
   11   X.    CONCLUSION
   12         For each of the foregoing reasons, Plaintiffs Lloyd’s Material Supply
   13   Company, Inc. and Lloyd’s Equipment, Inc. respectfully request that the Court
   14   deny the Motion to Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(1)
   15   & (6), or Alternatively, to Transfer Pursuant to 28 U.S.C. § 1404(a) filed by
   16   Defendant Regal-Beloit Corporation. Alternatively, Lloyd’s requests that, should
   17   the Court grant the motion in any respect, it also grant Lloyd’s leave to amend its
   18   Complaint.
   19   DATED: February 10, 2017                LARSON O’BRIEN LLP
   20
   21
   22                                           By    /s/ Stephen G. Larson
                                                       Stephen G. Larson
   23                                                  Melissa A. Meister
   24                                                  Attorneys for Plaintiffs
                                                       LLOYD’S MATERIAL SUPPLY
   25
                                                       COMPANY, INC. and LLOYD’S
   26                                                  EQUIPMENT, INC.
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